Citation Nr: 1413835	
Decision Date: 03/31/14    Archive Date: 04/10/14

DOCKET NO.  06-04 506	)	DATE
	)

On appeal from the
Department of Veterans Affairs Regional Office in Cleveland, Ohio


THE ISSUES

1.  Entitlement to service connection for a thoracolumbar spine disorder.

2.  Entitlement to service connection for a cervical spine disorder.

3.  Entitlement to service connection for a right knee disorder.

4.  Entitlement to service connection for a left knee disorder.


REPRESENTATION

Veteran represented by:	Virginia A. Girard-Brady




WITNESS AT HEARING ON APPEAL

The Veteran


ATTORNEY FOR THE BOARD

Robert R. Watkins, General Attorney


INTRODUCTION

The Veteran served on active duty from May 1966 to May 1968.

This matter was originally before the Board of Veterans' Appeals (Board) on appeal from a December 2004 decision of the Philadelphia, Pennsylvania, Department of Veterans Affairs (VA) Regional Office (RO).  The Cleveland, Ohio, RO currently has jurisdiction of the Veteran's claims file.  

In July 2008, the Veteran appeared at a hearing before a Veterans Law Judge (VLJ).  In September 2011, the Board issued a decision that denied the claims of entitlement to service connection for a thoracolumbar spine disorder, entitlement to service connection for a cervical spine disorder, entitlement to service connection for a right knee disorder, and entitlement to service connection for a left knee disorder.


ORDER TO VACATE

The Board may vacate an appellate decision at any time upon request of the appellant or his or her representative, or on the Board's own motion, when an appellant has been denied due process of law.  38 U.S.C.A. § 7104(a) (West 2002); 38 C.F.R. § 20.904 (2013).    

In September 2013, pursuant to a settlement agreement in the case of National Org. of Veterans' Advocates, Inc. v. Secretary of Veterans Affairs, 725 F.3d 1312 (Fed. Cir. 2013), the Board sent the Veteran a letter notifying him of an opportunity to receive a new decision from the Board that would correct any potential due process error relating to the duties of the VLJ that conducted the July 2008 hearing.  See Bryant v. Shinseki, 23 Vet. App. 488 (2010) (holding that the requirements of 38 C.F.R. § 3.103(c)(2) apply to a hearing before the Board and that a VLJ has a duty to explain fully the issues and to suggest the submission of evidence that may have been overlooked).  In September 2013, the Veteran responded that he wished to have the prior decision vacated and a new one issued in its place.

Accordingly, the portion of the September 2011 Board decision that denied the claims of entitlement to service connection for a thoracolumbar spine disorder, entitlement to service connection for a cervical spine disorder, entitlement to service connection for a right knee disorder, and entitlement to service connection for a left knee disorder is vacated.  The remainder of the September 2011 Board decision remains undisturbed. 
 


	                        ____________________________________________
	D. C. SPICKLER
	Veterans Law Judge, Board of Veterans' Appeals


